Case 3:18-cv-02791-BAS-NLS Document 15 Filed 07/10/19 PageID.671 Page 1 of 17




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  8                       UNITED STATES DISTRICT COURT
  9                    SOUTHERN DISTRICT OF CALIFORNIA
10
        RUDIE THOMAS,                               Case No. 18-cv-2791-BAS-NLS
11
                                     Plaintiff,     ORDER GRANTING
12                                                  DEFENDANT’S MOTION TO
                                                    DISMISS
13            v.
                                                    [ECF No. 7]
14      QUALITY LOAN SERVICE
        CORPORATION, et al.,
15
                                  Defendants.
16
17
18          Plaintiff Rudie Thomas is a litigant familiar to this Court. In 2014, he was
19    declared a vexatious litigant with respect to the repeated lawsuits he filed against
20    Bank of America following foreclosure of his property located at 5048 Crescent Bay.
21    (See 13-cv-1576-LAB-JLB, ECF No. 24.) In that case, Chief Judge Burns enjoined
22    Mr. Thomas from filing any further civil actions against Bank of America with
23    respect to foreclosure of his home without approval of the court.
24          Astonishingly, in 2016, Mr. Thomas was issued another mortgage on a
25    property located at 3771 Coleman Avenue. When Wells Fargo Bank foreclosed on
26    this property, Mr. Thomas commenced legal proceedings against Wells Fargo Bank
27    in San Diego Superior Court. Upon losing his case in state court, he now files this
28    case against Quality Loan Service Corp. (“QLS”), the trustee on the Wells Fargo

                                              –1–                                   18cv2791
Case 3:18-cv-02791-BAS-NLS Document 15 Filed 07/10/19 PageID.672 Page 2 of 17




  1   Bank foreclosure sale.
  2           In the Superior Court case Mr. Thomas alleged: (1) Wells Fargo Bank did not
  3   have the right to foreclose on his Coleman Avenue property because the note was
  4   forged, (2) Wells Fargo Bank was not properly assigned the Deed of Trust, and (3)
  5   Wells Fargo Bank did not properly substitute Quality Loan Service Corp. as the
  6   trustee under the Deed of Trust. The San Diego Superior Court found all of these
  7   claims lacked merit, ruling:
  8         It is undisputed that plaintiff entered into the subject loan transaction,
            accepted the loan funds and purchased the property, moved into the
  9         property and made payments to Wells Fargo. The undisputed evidence
10          demonstrates that Wells Fargo was properly assigned the Deed of Trust
            and properly substituted in Quality Loan Service Corp. as the
11          foreclosure trustee.
12    Thomas v. Wells Fargo Home, Cas No. 37-2016-00019344-CU-OR-CTL. (See ECF
13    No. 7-2, at 39.)
14            Plaintiff now files this federal case against QLS alleging various causes of
15    action, including violations of the Fair Debt Collections Practices Act and the
16    Racketeer Influenced and Corrupt Organizations Act. Plaintiff also alleges civil
17    rights violations and various conspiracies, claiming that Wells Fargo and QLS
18    unlawfully extorted money from him when they sent duplicitous and false invoices
19    resulting in the foreclosure of the property on Coleman Avenue. 1 In sum, Plaintiff’s
20    123-page complaint alleges sixteen causes of action and Plaintiff requests
21    $40,230,029.40 in damages.
22            Defendant QLS moves to dismiss the Complaint, (“Mot.,” ECF No. 7).
23
      1
        Throughout Plaintiff’s complaint, he references “defendants” indicating he believes he sued
24    multiple entities or persons. It appears Plaintiff intended to include Wells Fargo as a defendant.
25    (Compl. ¶ 12.) But Wells Fargo is not named in the caption of the complaint, and QLS is the only
      entity listed in the caption, along with: “all persons uknown [sic], claiming any illegal or equitable
26    right, title, estate, lien, or interest in property described in the complaint adverse to Plaintiff’s title,
      or any cloud on plaintiff’s title thereto.” This vague and unspecified reference to unknown persons
27    is not sufficient to name a defendant. Further, Plaintiff did not serve Wells Fargo or any other Doe
      defendant. Therefore, QLS is the only named Defendant in this matter and the Court does not
28
      consider references to any other defendant.

                                                         –2–                                              18cv2791
Case 3:18-cv-02791-BAS-NLS Document 15 Filed 07/10/19 PageID.673 Page 3 of 17




  1   Plaintiff opposes the motion. (ECF No. 10.) 2 The Court finds this Motion suitable
  2   for determination on the papers and without oral argument. Civ. L. R. 7.1(d)(1). For
  3   the reasons stated below, the Court GRANTS Defendant’s Motion.
  4   I.     FACTUAL ALLEGATIONS
  5          Plaintiff alleges he is the owner of a property located at 3771 Coleman Avenue
  6   in San Diego. (“Compl.,” ECF No. 1, at ¶ 1.) A deed of trust dated August 26, 2014
  7   indicates Plaintiff obtained a loan of $356,385 secured by a Deed of Trust against the
  8   property located at 3771 Coleman Avenue.                  The deed of trust lists Mortgage
  9   Electronic Registration Systems, Inc. (“MERS”) as the nominal beneficiary for
10    Moria Development, Inc. (ECF No. 1, at 53–54.) 3 On December 29, 2015, a
11    Substitution of Trustee was recorded, and Defendant QLS was named as trustee. (Id.
12    at 88.) The document is signed by Mr. Andrew Basom, counsel for Wells Fargo
13    Bank. (Id. at 89.) Plaintiff alleges QLS and Mr. Basom “had no legal authority” to
14    allow the substitution of trustee because Ginnie Mae did not grant permission, and
15    Plaintiff alleges Ginnie Mae is the principal of the loan. (Compl. ¶¶ 18, 32, 33.)
16    Plaintiff alleges the substitution is void and has a created a “cloud” on his title.
17    (Compl. ¶¶ 32, 33.)
18           On December 31, 2015, Defendant recorded a notice of default. (ECF No. 1,
19
      2
        Plaintiff filed a request for judicial notice as part of his opposition, and a second request as a
20    separate document. (ECF No. 10, at 38; ECF No. 12.) Some of the documents Plaintiff provided
21    are duplicitous of documents already on the docket, and the remainder were unnecessary for the
      resolution of the current Motion. The Court DENIES Plaintiff’s requests.
      3
22      Plaintiff attached relevant documents to his Complaint, for example, the deed of sale, substitution
      of trustee, notice of default, and notice of trustee’s sale. The Court incorporates the documents by
23    reference. Incorporation by reference allows a court deciding a Rule 12(b)(6) motion to dismiss to
      consider materials “properly submitted as part of the complaint.” Hal Roach Studios, Inc. v.
24    Richard Feiner & Co., 896 F.2d 1542, 1555 n.19 (9th Cir. 1989). A court deciding a Rule 12(b)(6)
25    motion to dismiss may consider a document that is not attached to the complaint if the complaint
      “necessarily relies” on it and “(1) the complaint refers to the document; (2) the document is central
26    to the plaintiff’s claims; and (3) no party questions the authenticity of the copy attached to the
      12(b)(6) motion.” Marker v. Lopez, 450 F.3d 445, 448 (9th Cir. 2006). Plaintiff’s Complaint refers
27    to the attached documents, which are central to his claims regarding the foreclosure on his property.
      The Court need not incorporate all documents, but finds it proper to incorporate by reference the
28
      relevant documents cited herein.

                                                      –3–                                          18cv2791
Case 3:18-cv-02791-BAS-NLS Document 15 Filed 07/10/19 PageID.674 Page 4 of 17




  1   at 91.) On April 4, 2016, Defendant recorded a notice of trustee’s sale due to
  2   Plaintiff’s unpaid balance. (Id. at 96.) On May 13, 2016, Defendant recorded a
  3   trustee’s deed upon sale. (Id. at 99.) Text at the end of these notices states that
  4   Defendant “may be considered a debt collector attempting to collect a debt.” (Id. at
  5   97, 100.) Plaintiff alleges Defendant is not and cannot be a debt collector. (Compl.
  6   ¶ 45.) Plaintiff states Defendant continues to “harass” him with the improper
  7   “amounts & instruments.” (Id. ¶ 46.) Plaintiff alleges Defendant sent him financial
  8   information that contained false and misleading information, which incorrectly said
  9   Plaintiff owed a debt. (Id. ¶ 33.) Plaintiff also appears to allege Defendant charged
10    “unauthorized charges . . . to an account purporting to be plaintiffs [sic] account.”
11    (Id. ¶ 47.)
12    II.    LEGAL STANDARD
13           A complaint must plead sufficient factual allegations to “state a claim to relief
14    that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal
15    quotation marks and citations omitted). “A claim has facial plausibility when the
16    plaintiff pleads factual content that allows the court to draw the reasonable inference
17    that the defendant is liable for the misconduct alleged.” Id.
18           A motion to dismiss pursuant to Rule 12(b)(6) of the Federal Rules of Civil
19    Procedure tests the legal sufficiency of the claims asserted in the complaint. Fed. R.
20    Civ. P. 12(b)(6); Navarro v. Block, 250 F.3d 729, 731 (9th Cir. 2001). The court
21    must accept all factual allegations pleaded in the complaint as true and must construe
22    them and draw all reasonable inferences from them in favor of the nonmoving party.
23    Cahill v. Liberty Mut. Ins. Co., 80 F.3d 336, 337–38 (9th Cir. 1996). To avoid a Rule
24    12(b)(6) dismissal, a complaint need not contain detailed factual allegations, rather,
25    it must plead “enough facts to state a claim to relief that is plausible on its face.” Bell
26    Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A Rule 12(b)(6) dismissal may
27    be based on either a ‘lack of a cognizable legal theory’ or ‘the absence of sufficient
28    facts alleged under a cognizable legal theory.’” Johnson v. Riverside Healthcare

                                                 –4–                                      18cv2791
Case 3:18-cv-02791-BAS-NLS Document 15 Filed 07/10/19 PageID.675 Page 5 of 17




  1   Sys., LP, 534 F.3d 1116, 1121 (9th Cir. 2008) (quoting Balistreri v. Pacifica Police
  2   Dep’t, 901 F.2d 696, 699 (9th Cir. 1990)).
  3   III.   ANALYSIS
  4          Defendant moves to dismiss each of Plaintiff’s causes of action but first argues
  5   it is protected by privilege.
  6          A.     Litigation Privilege
  7          Defendant was the trustee of Plaintiff’s loan and argues it is protected by the
  8   litigation privilege.      Defendant argues its “advancement of the nonjudicial
  9   foreclosure is statutorily protected under Cal. Civ. Code § 47 and accordingly, this
10    conduct cannot form the basis of any tort cause of action.” (Mot. at 4.)
11           Under a deed of trust containing a power of sale, the borrower, or “trustor”
12    (here, Plaintiff), conveys nominal title to property to an intermediary, the “trustee”
13    (at the time, First American Title Company), who holds that title as security for
14    repayment of the loan to the lender, or “beneficiary” (at the time, Moria Development
15    Inc.). (ECF No. 1 at 52–53); see Kachlon v. Markowitz, 168 Cal. App. 4th 316, 334
16    (2008) (citations omitted). Mortgage Electronic Registration Systems, Inc.
17    (“MERS”) was listed as the nominal beneficiary for Moria. (ECF No. 1 at 52–53.)
18           The beneficiary may make a substitution of trustee. Cal. Civil Code § 2924a;
19    Kachlon, 168 Cal. App. 4th at 334 (citations omitted). This occurred here, and the
20    recorded substitution of trustee document provides that the beneficiary, Wells Fargo,
21    substituted in a new trustee, QLS. (ECF No. 1, at 88.) Plaintiff appears to be
22    confused why Wells Fargo has the ability to do so. Plaintiff failed to include an
23    important document, where MERS assigned the deed of trust to Wells Fargo Bank,
24    N.A. Defendant attached a recorded copy of this document to its Motion. (ECF No.
25    7-2, at 21.)4 Thus, Wells Fargo was the beneficiary at the time of the substitution.
26
27    4
        Defendant requests the Court take judicial notice of the corporate assignment of deed of trust.
      Courts in this circuit frequently take judicial notice of mortgage-related documents. See Fimbres
28
      v. Chapel Mortg. Corp., No. 09–CV–0886–IEG (POR), 2009 WL 4163332, *3 (S.D. Cal. Nov. 20,

                                                    –5–                                         18cv2791
Case 3:18-cv-02791-BAS-NLS Document 15 Filed 07/10/19 PageID.676 Page 6 of 17




  1   Wells Fargo then substituted the trustee and recorded the substitution in San Diego
  2   County, the County where the property is located. (ECF No. 1, at 88); see 4 Miller
  3   & Starr § 13:9 (4th ed. 2019). After considering Plaintiff’s complaint, documents
  4   incorporated by reference, and “matters properly subject to judicial notice,” Swartz
  5   v. KPMG LLP, 476 F. 3d 756, 763 (9th Cir. 2007), the Court finds that Wells Fargo
  6   was the beneficiary at the time of the substitution and validly substituted QLS as the
  7   trustee. Plaintiff makes strong allegations to the contrary, but in the face of the
  8   properly introduced public records, of which the Court takes judicial notice,
  9   Plaintiff’s allegations to the contrary are not well-pled; they are merely legal
10    conclusions couched as factual allegations and they do not suffice to survive the
11    motion to dismiss. Further, as noted above, the state court found that QLS was the
12    properly substituted trustee under the Deed of Trust. (See ECF No. 7-2, at 39.)
13            Next, if the trustor defaults on the debt secured by the deed of trust, “the
14    beneficiary may declare a default and make a demand on the trustee to commence
15    foreclosure.” Kachlon, 168 Cal. App. 4th at 334 (citing Miller & Starr, at § 10:181).
16    Here, Plaintiff does not seem to dispute that he defaulted on the debt; his Complaint
17    merely lays out the events that occurred without disputing the reason for the default.
18    (Compl. ¶¶ 37–40.)5 Defendant then followed the steps laid out in the Civil Code.
19    The trustee sends a notice of default, then after at least three months, the trustee must
20    publish, post, and mail a notice of sale at least 20 days before the sale, and must also
21    record the notice of sale at least 14 days before the sale. Kachlon, 168 Cal. App. 4th
22    at 334–35 (citing Cal. Civil Code § 2924(a).) This was done here.
23
      2009) (taking judicial notice of a deed of trust, notice of default, notice of trustee’s sale, assignment
24    of deed of trust, and substitution of trustee, as each was a public record); Angulo v. Countrywide
25    Home Loans, Inc., No. 1:09–CV–877–AWI–SMS, 2009 WL 3427179, *3 n. 3 (E.D. Cal. Oct. 26,
      2009) (“The Deed of Trust and Notice of Default are matters of public record. As such, this court
26    may consider these foreclosure documents”). Plaintiff does not oppose Defendant’s request for
      judicial notice. The corporate assignment of deed of trust is a recorded public record and Court
27    takes judicial notice of the document.
      5
        The state court also found that Wells Fargo properly foreclosed on the property. (See ECF No.
28
      7-2, at 39.)

                                                        –6–                                            18cv2791
Case 3:18-cv-02791-BAS-NLS Document 15 Filed 07/10/19 PageID.677 Page 7 of 17




  1         Therefore, Defendant argues it is protected by the litigation privilege. The
  2   Court agrees. The Civil Code provides “[t]he mailing, publication, and delivery of
  3   notices as required” in the code constitute privileged communications pursuant to
  4   Civil Code section 47. Cal. Civil Code § 2924(d). Section 47 provides a qualified
  5   privilege for communications made by an interested person without malice to another
  6   interested person. Id. § 47(c)(1). Malice means “that the publication was motivated
  7   by hatred or ill will towards the plaintiff or by a showing that the defendant lacked
  8   reasonable grounds for belief in the truth of the publication and therefore acted in
  9   reckless disregard of the plaintiff’s rights.” Kachlon, 168 Cal. App. 4th at 336
10    (quotation and citations omitted).
11          Here, Plaintiff does not allege that Defendant acted with malice because he
12    does not allege Defendant was acting out of hatred or that it had no grounds for
13    believing in the truth of the documents it recorded. On the contrary, Defendant was
14    the trustee and was simply following the code when Plaintiff failed to pay his debt.
15    This does not show malice, and Defendant’s communication is privileged. See Schep
16    v. Capital One, N.A., 12 Cal. App. 5th 1331, 1336 (2017) (finding the trustee’s
17    actions of recording a notice of sale, notice of default, and trustee’s deed upon sale
18    are privileged). “This privilege is a natural fit for nonjudicial foreclosure. The
19    trustee’s statutory duties in effectuating the foreclosure are designed, in major part,
20    to communicate relevant information about the foreclosure to other interested
21    persons.” Kachlon, 168 Cal. App. 4th at 339.
22          The privilege bars any tort action based on a protected communication made
23    without malice. Rubin v. Green, 4 Cal. 4th 1187, 1193–94 (1993). The privilege
24    does not, however, defeat federal causes of action. Hinrichsen v. Bank of Am. N.A.,
25    No. 17-cv-219 DMS (RBB), 2017 WL 2992662, at *2 n.3 (S.D. Cal. July 14, 2017)
26    (citing cases); OEI v. N Star Capital Acquisitions, LLC, 486 F. Supp. 2d 1089 (C.D.
27    Cal. 2006) (holding that California’s litigation privilege did not grant immunity in
28    connection with a claim under the Fair Debt Collection Practices Act).

                                               –7–                                    18cv2791
Case 3:18-cv-02791-BAS-NLS Document 15 Filed 07/10/19 PageID.678 Page 8 of 17




  1          With the privilege in mind, the Court proceeds to analyze Plaintiff’s causes of
  2   action in turn. The causes of action listed in the caption of Plaintiff’s Complaint do
  3   not match up with the causes of action detailed in the body of the Complaint. The
  4   Court analyzes all causes of action in the body of the Complaint, which are more
  5   numerous than those listed in the caption. Further, in the caption, Plaintiff lists a
  6   violation of the Consumer Credit Protection Act. But because this Act is not once
  7   mentioned in the body of the Complaint, the Court does not analyze it in this Order
  8          B.     Fair Debt Collection Practices Act
  9          Plaintiff alleges Defendant engaged in abusive, deceptive, and unfair debt
10    collection practices in violation of the Fair Debt Collection Practices Act
11    (“FDCPA”). (Compl. ¶ 57.) Defendant allegedly misrepresented Plaintiff’s debt by
12    overstating the amounts owed. (Id. ¶ 60(b).) Plaintiff appears to base this cause of
13    action, at least in part, on the warning that Defendant included on certain documents,
14    i.e. that QLS “may be considered a debt collector attempting to collect a debt.” (ECF
15    No. 1, at 97, 100.) Plaintiff states Defendant misrepresented itself as a debt collector
16    and deceptively tried to collect a debt. (Compl. ¶¶ 60(c); 60(i).)
17           “[G]iving notice of a foreclosure sale to a consumer as required by the
18    [California] Civil Code does not constitute debt collection activity under the
19    FDCPA.” Vien-Phuong Thi Ho v. ReconTrust Co. NA, 858 F.3d 568, 574 (9th Cir.
20    2017) (quoting Pfeifer v. Countrywide Home Loans, Inc., 211 Cal. App. 4th 1250
21    (2012)). Here, there is no evidence that Defendant was doing more than giving
22    Plaintiff notice of his default and foreclosure. These are not debt collection activities.
23    The Vien-Phuong court also held that if the notice of sale includes a disclaimer stating
24    that the trustee ‘is a debt collector attempting to collect a debt[,]’ . . . [t]his disclaimer
25    isn’t sufficient to show that [the trustee] is a debt collector.” Id. at 574 n.7. Under
26    this precedent, the disclosure on QLS’s notices does not turn it into a debt collector.
27           Because Defendant, as a trustee, was not engaging in a debt collection activity,
28    Plaintiff’s FDCPA claim is improper. The Court GRANTS Defendant’s Motion to

                                                   –8–                                       18cv2791
Case 3:18-cv-02791-BAS-NLS Document 15 Filed 07/10/19 PageID.679 Page 9 of 17




  1   Dismiss this claim.
  2         C.     Conspiracy to Violate the Racketeer Influenced and Corrupt
  3                Organizations Act (“RICO”)
  4         A violation of RICO section 1962(c) consists of “(1) conduct (2) of an
  5   enterprise (3) through a pattern (4) of racketeering activity.” Section 1962(d)
  6   provides it is unlawful to conspire to violate subsections (a), (b), or (c).
  7         In one cause of action, Plaintiff alleges “two acts of racketeering activity”: (1)
  8   “when the defendants counsel [sic] illegally extorted money from a deceased man
  9   account [sic] in which was in the defendants QLS [sic] custody” and (2) Defendant’s
10    attempt “to have one of its employee [sic] Andrew Basom as attorney in fact for a
11    property in which McCarthy and Holthus LLP is not the principal of.” (Compl. ¶
12    63.) In a later cause of action titled “18 U.S.C. § 1986(a)” Plaintiff appears to
13    continue his RICO allegations, alleging Defendant engaged in racketeering through
14    its “collection of unlawful debt.” (Id. ¶ 66.) Plaintiff alleges through these acts,
15    Defendant and its employees conspired to violate RICO.
16          The first allegation regarding defense counsel is made against Daniel Joseph
17    Goulding, who Plaintiff alleges to be the general counsel for QLS. (Compl. ¶¶ 63,
18    41–42.) The alleged acts by Mr. Goulding are not related to the present case, but
19    Plaintiff connects the allegation to this case by alleging it shows QLS “is no stranger
20    to breaking the law.” (Id. ¶ 42.) Even if the Court were to find that Mr. Goulding’s
21    act is considered racketeering activity, the allegation is not made against Defendant
22    QLS. Thus this is not a plausible allegation that Defendant engaged in racketeering
23    activities. Next, Plaintiff’s second allegation against Mr. Basom is meritless, as the
24    Court found above that Wells Fargo had the authority to substitute QLS as trustee.
25    Therefore, Wells Fargo’s attorney signing the substitution is not a racketeering
26    activity, and in any event, is not an act of Defendant QLS. Finally, the Court found
27    above that QLS was not engaging in debt collection activity. Plaintiff has not
28    plausibly pled a RICO violation. The Court GRANTS Defendant’s Motion to

                                                 –9–                                   18cv2791
Case 3:18-cv-02791-BAS-NLS Document 15 Filed 07/10/19 PageID.680 Page 10 of 17




  1   Dismiss this cause of action. 6
  2          D.        Violation of 42 U.S.C § 1985
  3          Plaintiff alleges Defendant has interfered with Plaintiff’s right to real estate
  4   and personal property in violation of 42 U.S.C. § 1985. (Compl. ¶¶ 68–69.) Section
  5   1985 proscribes conspiracies to interfere with certain civil rights. Plaintiff does not
  6   allege under which subsection of section 1985 he brings his claim but the Court
  7   assumes it is section 1985(3) because Plaintiff alleges Defendant has deprived him
  8   of his rights.
  9          To state a claim for conspiracy to deprive a plaintiff of his civil rights under §
 10   1985(3), he must allege: (1) the existence of a conspiracy to deprive plaintiff of the
 11   equal protection of the laws, (2) an act in furtherance of the conspiracy, and (3) that
 12   plaintiff was injured in his person or property, or deprived of any right or privilege
 13   of a citizen of the United States. Addisu v. Fred Meyer, Inc., 198 F.3d 1130, 1141
 14   (9th Cir. 2000). Plaintiff must allege facts showing that he was intentionally treated
 15   differently from others similarly situated and that there was no rational basis for the
 16   difference in treatment. Karim-Panahi v. Los Angeles Police Dep’t, 839 F.2d 621,
 17   626 (9th Cir. 1988).
 18          First, a claim under section 1985 must allege specific facts to support the
 19   allegation that defendants conspired together, and a mere allegation of conspiracy
 20   without factual specificity is insufficient. Id. Plaintiff has certainly not alleged facts
 21   to support his bald allegation of a conspiracy. (See Compl. ¶ 69 (“It is specifically
 22   alleged that both defendants named in this action, namely QLS with the other
 23
      6
        Within this cause of action, Plaintiff also alleges Defendant engaged in a scheme to obtain money
 24   or property from Plaintiff using false pretenses, in violation of 18 U.S.C. § 1341. (Compl. ¶ 63.)
 25   This statute does not provide a private right of action. See Ellis v. CapitalSource Bank FBO Aeon
      Fin., LLC, 924 F. Supp. 2d 282, 286 (D.D.C. 2013). This allegation is DISMISSED.
 26           Plaintiff also alleges another conspiracy to deprive him of personal property pursuant to 18
      U.S.C. § 241. (Compl. ¶ 71.) However, 18 U.S.C. § 241 is a criminal statute and does not support
 27   a claim in a civil case. Aldabe v. Aldabe, 616 F.2d 1089, 1092 (9th Cir. 1980) (holding section 241
      provides no private right of action and cannot form basis for civil suit). Plaintiff cannot state a
 28
      claim under this section so the Court GRANTS Defendant’s Motion to Dismiss this cause of action.

                                                     – 10 –                                        18cv2791
Case 3:18-cv-02791-BAS-NLS Document 15 Filed 07/10/19 PageID.681 Page 11 of 17




  1   unnamed defendants conspired to steal and to deceive as complained of herein.”).)
  2   Second, Plaintiff has not plausibly alleged he was denied equal protection of the law,
  3   as he has provided no facts to show that he was treated differently than others
  4   similarly situated. For these reasons, the Court GRANTS Defendant’s Motion to
  5   Dismiss this cause of action.
  6            E.    Violation of 42 U.S.C § 1983
  7            Plaintiff alleges Defendant deprived him “of the right to actual value and also
  8   the right of possession” of the property in violation of 42 U.S.C. § 1983. (Compl.
  9   ¶ 70.)
 10            “Section 1983 imposes two essential proof requirements upon a claimant: (1)
 11   that a person acting under color of state law committed the conduct at issue, and (2)
 12   that the conduct deprived the claimant of some right, privilege, or immunity
 13   protected by the Constitution or laws of the United States.” Leer v. Murphy, 844
 14   F.2d 628, 632–33 (9th Cir. 1988). Plaintiff has not alleged that QLS is a state actor,
 15   nor can the Court infer from the Complaint that QLS was acting under the color of
 16   state law. Therefore, the Court GRANTS Defendant’s Motion to Dismiss this cause
 17   of action. 7
 18            F.    Gross Negligence
 19            Plaintiff alleges Defendant engaged in “gross negligence.”                  There is no
 20   separate, recognized cause of action for “gross negligence.” Allen v. Woodford, No.
 21   05-cv-1104, 2006 WL 3762053, at *15 (E.D. Cal. 2006) (citing Cont’l Ins. Co. v.
 22   Am. Prot. Indus., 197 Cal. App. 3d 322, 329 (1987)). The Court therefore analyzes
 23   the claim as one for negligence. “The elements of a negligence cause of action are
 24
      7
 25     Within this cause of action, Plaintiff alleges Defendant engaged in malicious prosecution.
      (Compl. ¶ 70.) A plaintiff must plead and prove three elements to establish the tort of malicious
 26   prosecution: a lawsuit “(1) was commenced by or at the direction of the defendant and was pursued
      to a legal termination favorable to the plaintiff; (2) was brought without probable cause; and (3)
 27   was initiated with malice.” Soukup v. Law Offices of Herbert Hafif, 39 Cal.4th 260, 292 (2006).
      Here, there are no allegations that any lawsuit was brought against Plaintiff, let alone a lawsuit by
 28
      Defendant that terminated in Plaintiff’s favor. The Court DISMISSES this cause of action.

                                                     – 11 –                                        18cv2791
Case 3:18-cv-02791-BAS-NLS Document 15 Filed 07/10/19 PageID.682 Page 12 of 17




  1   the existence of a legal duty of care, breach of that duty, and proximate cause
  2   resulting in injury.” Castellon v. U.S. Bancorp, 220 Cal. App. 4th 994, 998 (2013)
  3   (citation omitted).
  4         This cause of action appears to stem from Plaintiff’s allegation that Defendant
  5   did not properly service his bank account. (Compl. ¶ 72.) To the extent this claim
  6   is related to Wells Fargo’s actions, Plaintiff’s case is not brought against Wells Fargo.
  7   To the extent this claim arises from Defendant QLS’s actions as a trustee, the Court
  8   has found above that Defendant did not act counter to what is permitted under the
  9   Civil Code. Plaintiff has not alleged that Defendant breached any duty owed to him.
 10   And finally, to the extent this cause of action is related to the documents sent by QLS
 11   as the trustee, this conduct is protected by the litigation privilege. See Navellier v.
 12   Sletten, 106 Cal. App. 4th 763, 770 (2003) (“The litigation privilege immunizes
 13   litigants from liability for torts, other than malicious prosecution, which arise from
 14   communications in judicial proceedings” (citing Silberg v. Anderson, 50 Cal. 3d 205,
 15   212 (1990))). For these reasons, the Court GRANTS Defendant’s Motion to Dismiss
 16   this cause of action.
 17         G.     Negligent Misrepresentation
 18         Plaintiff broadly alleges Defendant “committed duplicitous and negligent
 19   misrepresentations” made “with intent to deceive[,]” but Plaintiff does not allege
 20   what Defendant misrepresented.        (Compl. ¶ 73.)      Such broad allegations are
 21   insufficient. Further, it appears Plaintiff’s allegations under this cause of action stem
 22   from communications QLS sent to Plaintiff during the foreclosure process, therefore,
 23   this tort claim is barred by the litigation privilege. See Cal. Civ. Code § 2924(d)
 24   (“The mailing, publication and delivery of notices” are privileged communications).
 25   The Court GRANTS Defendant’s Motion to Dismiss this cause of action.
 26         H.     Deceptive Trade Practices
 27         Plaintiff alleges Defendant engaged in deceptive acts through “conspiracy,
 28   unlawful debt harassment practices, conversions, and theft” as well as through

                                                – 12 –                                  18cv2791
Case 3:18-cv-02791-BAS-NLS Document 15 Filed 07/10/19 PageID.683 Page 13 of 17




  1   misrepresentation, and sending false bills and statements. (Compl. ¶¶ 79–80.) The
  2   alleged deceptive practices Defendant engaged in are related to its acts as a fiduciary.
  3   After considering the Complaint and documents subject to judicial notice, the Court
  4   finds there are no plausible allegations that Defendant engaged in any activity that
  5   was not permitted per its role as a fiduciary, therefore it has not engaged in any
  6   deceptive practices. The Court GRANTS Defendant’s Motion to Dismiss this cause
  7   of action.
  8            I.    Civil Conspiracy
  9            Plaintiff alleges “the two named defendants and/or” their agents engaged in a
 10   conspiracy through “deception and negligent misrepresentation.” (Compl. ¶ 82.)
 11   Plaintiff states the conspiracy arose from “one or more or all of the torts complained
 12   of herein.” (Id. ¶ 84.) Because the Court finds that Defendant is immune from tort
 13   liability and has not plausibly committed any torts, as noted herein, there can be no
 14   conspiracy resulting from the alleged torts. The Court GRANTS Defendant’s
 15   Motion to Dismiss this cause of action.
 16            J.    Breach of Contract and Breach of the Duty of Good Faith and Fair
 17                  Dealing
 18            Plaintiff alleges Defendant’s breach of contract is based on “the defendant’s
 19   failure to perform by properly managing the plaintiff’s account with the defendants.”
 20   (Compl. ¶ 86.) Plaintiff alleges Defendant “mismanaged the plaintiff[’]s purported
 21   account established by defendants by improperly ‘stealing’ and/or laundering monies
 22   or credits in favor of themselves” by inputting “unauthorized credits or unauthorized
 23   amounts of money and misrepresenting these charges as valid ‘charges[.]’” (Compl.
 24   ¶ 58.)
 25            To establish a breach of contract under California law, Plaintiff must show the
 26   following: (1) existence of a contract, (2) performance by the plaintiff or excuse for
 27   nonperformance, (3) breach by the defendant, and (4) damages. First Commercial
 28   Mortg. Co. v. Reece, 89 Cal. App. 4th 731, 745 (2001).

                                                 – 13 –                                 18cv2791
Case 3:18-cv-02791-BAS-NLS Document 15 Filed 07/10/19 PageID.684 Page 14 of 17




  1          Even assuming that the Deed of Trust operates as a contract between Plaintiff
  2   and QLS as the successor trustee, the other elements are not met. Plaintiff does not
  3   identify a contract or contractual provision of the Deed of Trust that QLS has
  4   breached. See Rinehart v. OneWest Bank, FSB, No. CIV. 10-6331-AA, 2011 WL
  5   1311839, at *2 (D. Or. Apr. 1, 2011) (“[T]he fact that [defendant] is the successor
  6   trustee under the Deed of Trust does not state a claim for breach of contract.”)
  7   Indeed, it appears Plaintiff’s claim is related to an account held by Wells Fargo, but
  8   Wells Fargo is not a Defendant in this case.
  9          Because Plaintiff cannot prove the elements of a breach of contract action, the
 10   Court GRANTS Defendant’s Motion to Dismiss this cause of action. And because
 11   there is no contract, there can be no claim of breach of the implied duty of good faith
 12   and fair dealing. Kwon v. Banc of AmericaFunding 2005F Tr., No. C 14-3602 PJH,
 13   2015 WL 400565, at *2 (N.D. Cal. Jan. 29, 2015) (holding “there was no contract in
 14   existence at the time of the challenged conduct, and thus, there can be no breach—
 15   either of the contract itself, or of the implied duty of good faith and fair dealing”).
 16   The Court GRANTS Defendant’s Motion to Dismiss this cause of action.
 17          K.     Tortious Interference with Business Contracts
 18          Plaintiff alleges “defendants have knowingly and intentionally damage[d] the
 19   plaintiff[’]s contractional or other business relationship with defendant. (Compl. ¶
 20   89.) Specifically, “tortfeasor defendant has convinced it[s] co-conspirator to breach
 21   the contract against the plaintiff.” (Id.)
 22          First, if Plaintiff is alleging QLS interfered with a contract between QLS and
 23   Plaintiff, this does not state a claim. First, there is no allegation that a contract exists
 24   between Plaintiff and QLS. And second, if a contract does exist, a party to a contract
 25   cannot interfere with itself or its own contract. St. James v. Equilon Enters., LLC,
 26   No. 08-CV-00962 W (AJB), 2008 WL 4279415, at *7 (S.D. Cal. Sept. 15, 2008).
 27   For these reasons, the Court reads this allegation as one that QLS interfered with
 28   Plaintiff’s contract and/or relationship with Wells Fargo.

                                                   – 14 –                                  18cv2791
Case 3:18-cv-02791-BAS-NLS Document 15 Filed 07/10/19 PageID.685 Page 15 of 17




  1         To state a tortious interference with contract claim, a plaintiff must show: “(1)
  2   a valid contract between plaintiff and a third party; (2) defendant’s knowledge of the
  3   contract; (3) defendant’s intentional acts designed to induce breach or disruption of
  4   the contract; (4) actual breach or disruption; and (5) resulting damage.” Name.Space,
  5   Inc. v. Internet Corp. for Assigned Names & Numbers, 795 F.3d 1124, 1133 (9th Cir.
  6   2015) (quoting Family Home & Fin. Ctr., Inc. v. Fed. Home Loan Mortg. Corp., 525
  7   F.3d 822, 825 (9th Cir. 2008)). Even if the Court assumes there was a contract
  8   between Plaintiff and Wells Fargo, under element one, the other elements are not
  9   met. As noted above, the Court finds that QLS was simply following the civil code
 10   in sending Plaintiff notices and engaging in foreclosure activities. This does not
 11   plausibly show any intentional acts to cause any issues in Plaintiff and Wells Fargo’s
 12   business relationship.   Therefore, Plaintiff has not stated a claim for tortious
 13   interference of contract or business relationship. The Court GRANTS Defendant’s
 14   Motion to Dismiss this cause of action.
 15         L.     42 U.S.C § 1981
 16         Plaintiff alleges Dependent deprived him of the value and right to possess his
 17   property. (Compl. ¶ 92.) Plaintiff also alleges Defendant deprived him of “the right
 18   to make and enforce contracts with third parties in express violation of 42 U.S.C.
 19   § 1981.” (Id.)
 20         Under 42 U.S.C. § 1981, “all persons within the jurisdiction of the United
 21   States shall have the same right in every State and Territory . . . as is enjoyed by
 22   white citizens. . . .” 42 U.S.C. § 1981. The purpose of section 1981 was “meant, by
 23   its broad terms, to proscribe discrimination in the making or enforcement of contracts
 24   against, or in favor of, any race.” Gratz v. Bollinger, 539 U.S. 244, 276 n.23 (2003)
 25   (quotation omitted); see also Saint Francis College v. Al-Khazraji, 481 U.S. 604, 609
 26   (1987) (holding § 1981 forbids racial discrimination in the making of contracts).
 27         Plaintiff does not allege if or how he was discriminated against on the basis of
 28   race. A plaintiff must at least allege facts that would support an inference that

                                                – 15 –                                18cv2791
Case 3:18-cv-02791-BAS-NLS Document 15 Filed 07/10/19 PageID.686 Page 16 of 17




  1   defendants intentionally and purposefully discriminated against him. Imagineering,
  2   Inc. v. Kiewit Pac. Co., 976 F.2d 1303, 1313 (9th Cir. 1992). Because Plaintiff
  3   alleges no facts that would support an inference of intentional discrimination or
  4   discriminatory interference with his right to make and enforce contracts, he does not
  5   state a claim under § 1981. The Court GRANTS Defendant’s Motion to Dismiss
  6   this cause of action.
  7         M.     Trespass
  8         Plaintiff alleges Defendant’s actions have prevented his “ingress to and egress
  9   from the property” and deprived him of his “right to exclusive possession of the
 10   property.” (Compl. ¶ 93.) Indeed, Defendant agrees that Plaintiff no longer owns
 11   the property because it was sold at a trustee’s sale. (Mot. at 14.) But the Court finds
 12   Defendant’s acts that led to the sale are protected by the litigation privilege. The
 13   privilege “extends to post-judgment acts necessarily related to the enforcement of an
 14   order procured by an allegedly wrongful communicative act.” Ritchie v. Sempra
 15   Energy, 703 F. App’x 501, 505 (9th Cir. 2017) (citation omitted). Accordingly, the
 16   tort of trespass, which arises out of Plaintiff’s allegations regarding the foreclosure
 17   process, is barred by the litigation privilege. See id. (finding same). The Court
 18   GRANTS Defendant’s Motion to Dismiss this cause of action.
 19         N.     Declaratory Judgment
 20         Plaintiff requests declaratory judgment as to the status of the property in
 21   dispute. (Compl. ¶ 97.) Plaintiff requests a declaration that he is the owner of the
 22   property and that Defendant has no right to it. (Id. ¶ 98.) The Court has found above
 23   that Plaintiff has not sufficiently alleged that he is still the owner of the property, and
 24   the Court declines to issue a declaratory judgment.
 25   IV.   CONCLUSION
 26         For the foregoing reasons, the Court GRANTS Defendant’s Motion to
 27   Dismiss in its entirety. Certain causes of action are barred by the litigation privilege,
 28   which Plaintiff cannot cure by amendment. Thus these causes of action are dismissed

                                                 – 16 –                                   18cv2791
Case 3:18-cv-02791-BAS-NLS Document 15 Filed 07/10/19 PageID.687 Page 17 of 17




  1   with prejudice: (1) gross negligence, (2) negligent misrepresentation, (3) civil
  2   conspiracy, and (4) trespass. Further, the following causes of action cannot be cured
  3   by amendment for the reasons articulated above and are also dismissed with
  4   prejudice: (1) violation of the Fair Debt Collection Practices Act; (2) violation of 18
  5   U.S.C. § 241; and (3) violation of 18 U.S.C. § 1341.
  6         The Court has serious doubts that Plaintiff can state a claim against QLS
  7   because it does not appear on the record before the Court that QLS committed any
  8   wrongs in its interactions with Plaintiff. However, given Plaintiff’s pro se status and
  9   because Plaintiff has not yet amended his complaint, the Court grants Plaintiff an
 10   opportunity to file an amended complaint. McCabe v. Arave, 827 F.2d 634, 640 n.6
 11   (9th Cir. 1987) (holding courts are cautioned to make reasonable allowances for pro
 12   per litigants and to read pro se papers liberally). Plaintiff’s amended complaint may
 13   not re-allege against QLS the seven causes of action listed above that the Court has
 14   dismissed with prejudice. Further, Plaintiff’s complaint must comply with Federal
 15   Rule of Civil Procedure 8. Rule 8 requires that each pleading include a “short and
 16   plain statement of the claim,” and that “each allegation must be simple, concise, and
 17   direct.” Fed. R. Civ. P. 8(a)(2) & (d)(1). Plaintiff must allege concise and direct
 18   facts to support each cause of action, and it is not sufficient to simply state mere
 19   conclusions without support.
 20         Plaintiff may file an amended complaint on or before August 9, 2019. If
 21   Plaintiff fails to file an amended complaint within the time provided, the Court may
 22   dismiss this action based on Plaintiff’s failure to prosecute in compliance with a court
 23   order requiring amendment.
 24         IT IS SO ORDERED.
 25   DATED: July 10, 2019
 26
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                                               – 17 –                                  18cv2791
